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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


 T’UNICA MITCHELL,
 an individual,
                                                CASE NO.: 6:21-cv-01045
              Plaintiff,
 vs.

 SUNSHINE FITNESS
 MANAGEMENT LLC, d/b/a
 PLANET FITNESS, a Florida limited
 liability company; TIM CAYLOR, an
 individual; CHRISTOPHER
 MCGILLOWAY, an individual;
 MAURICIO CARDENAS, an
 individual; KRISTINA MOOTY, an
 individual; and SYMPHONIE
 FISHER, an individual,
              Defendants.
                                           /


            JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

              Plaintiff T’UNICA MITCHELL and Defendants SUNSHINE

FITNESS MANAGEMENT LLC, d/b/a PLANET FITNESS, a Florida limited

liability   company;       TIM   CAYLOR,   an   individual;   CHRISTOPHER

MCGILLOWAY, an individual; MAURICIO CARDENAS, an individual;

KRISTINA MOOTY, an individual; and SYMPHONIE FISHER, an individual,

(collectively “Defendants”), by and through their undersigned counsel, hereby

dismiss this matter with prejudice pursuant to Federal Rule of Civil Procedure
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41(a) on the grounds that the parties have entered into and executed a

Confidential Settlement Agreement and General Release, whereby all of the

pending claims in this cause have been compromised and fully resolved.

Accordingly, each party shall bear their own attorneys’ fees and costs.

            DATED this 25th day of May, 2022.

            Respectfully submitted,

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 /s/ Daniel Nesheiwat
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